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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                        Case No. 19-22613-Civ-COOKE/GOODMAN

   MERWIN LARREAL,

           Plaintiff,

   v.

   TELEMUNDO OF FLORIDA, LLC,

         Defendant.
   ____________________________________/
                        ORDER ADOPTING MAGISTRATE JUDGE’S
                           REPORT AND RECOMMENDATION
           THIS MATTER is before me upon the Report and Recommendation (“R&R”) of the
   Honorable Jonathan Goodman, U.S. Magistrate Judge [ECF No. 148], issued September 21,
   2020, regarding Defendant’s Motion for Summary Judgment [ECF No. 64].
           In his R&R, Judge Goodman recommends that I grant Telemundo’s summary
   judgment motion on the fair report privilege. Objections to Judge Goodman’s R&R are due
   by October 5, 2020; however, on September 22, 2020, the Parties filed a Joint Notice of Non-
   Objection and Request for Adoption of Magistrate Judge Goodman’s Report and
   Recommendation (the “Joint Notice”) [ECF No. 149]. In their Joint Notice, the Parties
   request that I adopt Judge Goodman’s R&R and enter summary judgment in Defendant’s
   favor. Accordingly, Judge Goodman’s R&R [ECF No. 148] is APPROVED and ADOPTED
   as the Order of this Court. It is therefore ORDERED and ADJUDGED that summary
   judgment is entered in favor of Defendant Telemundo of Florida, LLC. The Clerk is directed
   to CLOSE this case solely for administrative purposes.
           DONE and ORDERED in Chambers, at Miami, Florida, this 25th day of September
   2020.




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   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of record




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